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 5                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,             )
 7                                         )
                         Plaintiff,        )      CR-08-026-FVS-2
 8                                         )
          vs.                              )      ORDER GRANTING MOTION
 9                                         )      TO ALLOW TRAVEL
     FRAN OGREN,                           )
10                                         )
                         Defendant.        )
11                                         )

12          The court having reviewed Defendant Fran Ogren’s Motion to

13   Modify Release Conditions,

14         IT IS ORDERED, for good cause shown, that the Defendant’s

15   Motion to Modify Release to allow travel (Ct. Rec. 272) is GRANTED.
16         Ms. Ogren shall be permitted to travel to Olympia, Washington,
17   February 17-20, 2009, and return to Northport, Washington, on
18   February 20, 2009, no later than 11:00 p.m.
19         DATED February 13, 2009.
20                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO ALLOW TRAVEL - 1
